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                        Exhibit “B”
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       SUPREME COURT OF THE STATE OF NEW YORK
       COUNTY OF QUEENS
       --------------------------------------------------------------------X
       U.S. BANK TRUST NATIONAL ASSOCIATION, AS                                   Index No.
       TRUSTEE OF IGLOO SERIES V TRUST,
                                                                                              SUMMONS
                                                                Plaintiff
                                   -against-                                      Mortgaged Premises:
                                                                                  24-02 Oceancrest Boulevard
       J. PATRICIA JOHNSON A/K/A JOYCELYN P.                                      Far Rockaway, NY 11691
       JOHNSON A/K/A JOYCELYN PATRICIA JOHNSON
       A/K/A JOYCELYN PATRICIA JAMES JOHNSON                                      Section: 60
       A/K/A JOCELYN PATRICIA JAMES JOHNSON                                       Block: 15733
       A/K/A JOYCELYN PATRICIA JOHNSON-WELCH;                                     Lot: 54
       TARANI JOHNSON; NEW YORK CITY
       ENVIRONMENTAL CONTROL BOARD; NEW
       YORK CITY TRANSIT ADJUDICATION BUREAU;
       NEW YORK CITY PARKING VIOLATIONS
       BUREAU; "JOHN DOE" AND "JANE DOE" said
       names being fictitious, it being the intention of Plaintiff
       to designate any and all occupants of premises being
       foreclosed herein,

                                                              Defendants
       --------------------------------------------------------------------X
       Mortgaged Premises: 24-02 Oceancrest Boulevard, Far Rockaway, NY 11691

       To The Above Named Defendant(s):

              YOU ARE HEREBY SUMMONED to answer the Complaint in the above entitled action and to
       serve a copy of your Answer on the Plaintiff’s attorney within twenty (20) days of the service of this
       Summons, exclusive of the day of service, or within thirty (30) days after service of the same is
       complete where service is made in any manner other than by personal delivery within the State. The
       United States of America, if designated as a Defendant in this action, may answer or appear within
       sixty (60) days of service. If you fail to appear or to answer within the aforementioned time frame,
       judgment will be taken against you by default for the relief demanded in the Complaint.

                             NOTICE OF NATURE OF ACTION AND RELIEF SOUGHT

              THE OBJECTIVE of the above captioned action is to foreclose on a Mortgage to secure
       $466,000.00 and interest, recorded in the Queens County Clerk’s Office on February 7, 2006 in CRFN
       2006000071069, covering the premises known as 24-02 Oceancrest Boulevard, Far Rockaway, NY
       11691.

               The relief sought herein is a final judgment directing sale of the premises described above to
       satisfy the debt secured by the mortgage described above.


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              Plaintiff designates Queens County as the place of trial. Venue is based upon the County in
       which the mortgaged premises is located.

                           NOTICE
           YOU ARE IN DANGER OF LOSING YOUR HOME
       If you do not respond to this summons and complaint by serving a copy of the answer on the
       attorney for the mortgage company who filed this foreclosure proceeding against you and filing
       the answer with the court, a default judgment may be entered and you can lose your home.


       Speak to an attorney or go to the court where your case is pending for further information on
       how to answer the summons and protect your property.


       Sending a payment to your mortgage company will not stop this foreclosure action.


       YOU MUST RESPOND BY SERVING A COPY OF THE ANSWER ON THE ATTORNEY FOR
       THE PLAINTIFF (MORTGAGE COMPANY) AND FILING THE ANSWER WITH THE
       COURT.



       Dated: November 30, 2022
       New York, New York

                                                   __________________________________
                                                   Ralph L. Vartolo, Esq.
                                                   FRIEDMAN VARTOLO LLP
                                                   Attorneys for Plaintiff
                                                   1325 Franklin Avenue, Suite 160
                                                   Garden City, New York 11530
                                                   T: (212) 471-5100




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       SUPREME COURT OF THE STATE OF NEW YORK
       COUNTY OF QUEENS
       --------------------------------------------------------------------X
       U.S. BANK TRUST NATIONAL ASSOCIATION, AS                                   Index No.
       TRUSTEE OF IGLOO SERIES V TRUST,
                                                                                    VERIFIED COMPLAINT
                                                                Plaintiff
                                   -against-                                      Mortgaged Premises:
                                                                                  24-02 Oceancrest Boulevard
       J. PATRICIA JOHNSON A/K/A JOYCELYN P.                                      Far Rockaway, NY 11691
       JOHNSON A/K/A JOYCELYN PATRICIA JOHNSON
       A/K/A JOYCELYN PATRICIA JAMES JOHNSON
       A/K/A JOCELYN PATRICIA JAMES JOHNSON                                       Section: 60
       A/K/A JOYCELYN PATRICIA JOHNSON-WELCH;                                     Block: 15733
       TARANI JOHNSON; NEW YORK CITY                                              Lot: 54
       ENVIRONMENTAL CONTROL BOARD; NEW
       YORK CITY TRANSIT ADJUDICATION BUREAU;
       NEW YORK CITY PARKING VIOLATIONS
       BUREAU; "JOHN DOE" AND "JANE DOE" said
       names being fictitious, it being the intention of Plaintiff
       to designate any and all occupants of premises being
       foreclosed herein,

                                                              Defendants
       --------------------------------------------------------------------X
                The Plaintiff herein, by its attorneys FRIEDMAN VARTOLO LLP complains of the

       defendants above named herein and, upon information and belief, alleges as follows:

               1.       Plaintiff, U.S. Bank Trust National Association, as Trustee of Igloo Series V Trust

       (hereinafter “Plaintiff”), at all times hereinafter mentioned was and still is a duly organized corporation

       or association with offices at 7114 E. Stetson Drive, Suite 250, Scottsdale, AZ 85251.

               2.       The object of the instant action is to foreclose a mortgage securing the premises known

       as 24-02 Oceancrest Boulevard, Far Rockaway, NY 11691 (hereinafter “Mortgaged Premises”). The

       Mortgaged Premises is more fully described in Schedule “A” annexed hereto.

               3.       On December 13, 2005, J. Patricia Johnson (hereinafter “Borrower”) being indebted to

       BNY Mortgage Company LLC, in the sum of $466,000.00, executed a note to secure that sum with a

       fixed interest rate of 6.375% per annum, payable in successive monthly installments of $2,907.23 on


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       the first day of each month commencing February 1, 2006 and the final payment to be made January 1,

       2036 (hereinafter “Note”). A true and correct copy of the Note is attached hereto as Exhibit A.

              4.     To secure payment of the obligation described in paragraph three (3), J Patricia Johnson

       (hereinafter “Mortgagor”) executed to Mortgage Electronic Registration Systems, Inc., as nominee for

       BNY Montage Company LLC a mortgage of even date with said Note, and thereby mortgaged the

       Mortgaged Premises as collateral security for the Note. Said mortgage was recorded in the County

       Clerk's Office of Queens on February 7, 2006 in CRFN 2006000071069 (hereinafter “Mortgage”). A

       true and correct copy of the Mortgage is attached hereto as Exhibit B.

              5.     Thereafter, the Mortgage was assigned as provided for below:

       ASSIGNMENT OF MORTGAGE:
       Assignor: Mortgage Electronic Recording System Inc., as nominee for BNY Mortgage Company, LLC
       Assignee: Wells Fargo Bank, N.A.
       Dated: January 25, 2010
       Recorded: March 8, 2010
       CRFN: 2010000078955

       CORRECTIVE ASSIGNMENT OF MORTGAGE:
       Assignor: Mortgage Electronic Registration Systems, Inc., as nominee for BNY Mortgage Company,
       Limited Liability Company, its successors and assigns
       Assignee: Wells Fargo Bank, NA
       Dated: March 27, 2012
       Recorded: April 9, 2012
       CRFN: 2012000137290

       Copies of the aforementioned assignments of Mortgage are attached hereto as Exhibit C.

              6.     Effective August 1, 2017, the Borrower and Wells Fargo Bank, N.A. amended and

       supplemented the Mortgage by execution of a loan modification agreement, which capitalized all

       arrears to form a total unpaid principal balance of $753,419.53 (hereinafter “Loan Modification

       Agreement”). The Loan Modification Agreement amended the interest rate of the Mortgage such that

       interest would accrue at 4.250% per annum on $575,000.00, the interest-bearing principal, from August

       1, 2017 until the modified maturity date, August 1, 2057, at which time $178,419.53, the deferred


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       principal balance would become due and owing. The Loan Modification Agreement was recorded on

       September 7, 2017 in CRFN 2017000333563. A copy of the Loan Modification Agreement is attached

       hereto as Exhibit D.

              7.     Thereafter, the Mortgage was assigned as provided for below:

       ASSIGNMENT OF MORTGAGE:
       Assignor: Wells Fargo Bank, N.A.
       Assignee: Specialized Loan Servicing LLC
       Dated: August 1, 2019
       Recorded: August 8, 2019
       CRFN: 2019000252454

       ASSIGNMENT OF MORTGAGE:
       Assignor: Specialized Loan Servicing LLC by Community Loan Servicing, LLC its attorney in fact
       Assignee: Community Loan Servicing, LLC
       Dated: February 11, 2021
       Recorded: February 23, 2021
       CRFN: 2021000064842

       ASSIGNMENT OF MORTGAGE:
       Assignor: Community Loan Servicing, LLC, f/k/a Bayview Loan Servicing, LLC
       Assignee: Bayview Dispositions VI, LLC
       Dated: October 20, 2021
       Recorded: December 14, 2021
       CRFN: 2021000490196

       ASSIGNMENT OF MORTGAGE:
       Assignor: Bayview Dispositions VI, LLC
       Assignee: U.S. Bank Trust National Association, as trustee of the Igloo Series V Trust
       Dated: November 10, 2021
       Recorded: December 14, 2021
       CRFN: 2021000490197

       Copies of the aforementioned assignments of Mortgage are attached hereto as Exhibit E.

              8.     Plaintiff or its custodian/agent is in possession of the original Note with a proper

       endorsement and/or allonge firmly affixed to the original Note and is therefore, the holder of both the

       Note and Mortgage, which passes incident to the Note.

              9.     Plaintiff has complied with all of the applicable provisions of RPAPL §1304, if required,


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       and, if applicable, New York Banking Law 9-X, Banking Law §§ 595-a and 6-1 and 6-m.

              10.    Notices were sent to the Borrower specifically pursuant to RPAPL §1304 on June 21,

       2022 (hereinafter “90-Day Notices”). Said 90-Day Notices have not expired and were sent to the

       Borrower at least 90-days prior to the commencement of the instant action. The 90-Day Notices were

       in 14-point type, contained the statutorily dictated language of RPAPL §1304 and the address and

       phone numbers of at least five US Department of Housing and Urban Development approved housing

       counseling agencies in the region where the Borrower resides and was mailed by registered or certified

       mail and first-class mail to the Mortgaged Premises and last known address of the Borrower, if

       different. True and correct copies of the 90-Day Notices are attached hereto as Exhibit F.

              11.    That the Plaintiff has complied fully with the RPAPL §1306 filing requirement, if

       required, by filing with the superintendent of banks within three (3) business days of date the 90-Day

       Notices were mailed. A true and correct copy of the proof of filing is attached hereto as Exhibit G.

              12.    That the Mortgage provides that in the case of default in the payment of any principal or

       interest or any other terms, covenants or conditions of the Mortgage, the holder of the Mortgage could

       declare the entire indebtedness secured by the Mortgage immediately due and payable, and that the

       holder of the Mortgage is empowered to sell the Mortgaged Premises.

              13.    That the Mortgagor defaulted on the Mortgage on April 1, 2018 and since that date has

       failed to comply with the conditions of the Mortgage by failing to pay portions of principal, interest or

       taxes, assessments, water rates, insurance premiums, escrow and/or other charges.

              14.    That pursuant to paragraph 22 of the Mortgage, in the case of default in the payment of

       any principal or interest or any other terms, covenants or conditions of the Mortgage, the holder of the

       Mortgage could declare the entire indebtedness secured by the Mortgage immediately due and payable,

       and that the holder of the Mortgage is empowered to sell the Mortgaged Premises according to law. As

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       Mortgagor has failed to pay monthly installments prior to or on the due date, Plaintiff elects herein to

       accelerate the Mortgage and call due the entire amount secured by said Mortgage.

              15.    That in order to protect its security, the Plaintiff has paid, or may be compelled to pay

       during the pendency of this action, local taxes, assessments, water rates, insurance premiums and other

       charges assessed to the Mortgaged Premises.

              16.    That, pursuant to the Mortgage, the Mortgagor promised to pay, in addition to principal

       and interest, all the additional charges mentioned in the preceding paragraph, and Plaintiff hereby

       requests that any sums paid by Plaintiff for such purposes, with interest thereon, be added to the sum

       otherwise due and be deemed secured by the Mortgage and be adjudged to be a valid lien on the

       Mortgaged Premises.

              17.    That there is now due and owing to the Plaintiff under said Note and Mortgage the

       principal sum of $571,767.79, as well as a deferred balance of $178,419.53, with interest thereon from

       March 1, 2018, plus late charges and advances made by the Plaintiff on behalf of the Mortgagor and

       other named defendants and any other charges due and owing pursuant to the terms of the Note and

       Mortgage.

              18.    Pursuant to paragraph 6A of the Note, in the event any installment shall become overdue

       for a period in excess of 15 days, a late charge on the overdue sum may be charged for the purpose of

       defraying the expense in handling such delinquent payment.

              19.    Plaintiff has complied with all conditions precedent, required by the Mortgage, prior to

       the commencement of this action.

              20.    Pursuant to the terms of the Mortgage, a notice of default was mailed to the Mortgagor

       on June 21, 2022 via certified mail and first class mail to the last known address of the Mortgagor,

       which was the Mortgaged Premises, as well as to 45 E City Avenue, Bala Cynwyd, PA 19004-2421

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       (hereinafter “Notice of Default”). A true and correct copy of the Notice of Default is attached hereto as

       Exhibit H.

              21.     That defendant, J. PATRICIA JOHNSON A/K/A JOYCELYN P. JOHNSON A/K/A

       JOYCELYN PATRICIA JOHNSON A/K/A JOYCELYN PATRICIA JAMES JOHNSON A/K/A

       JOCELYN PATRICIA JAMES JOHNSON A/K/A JOYCELYN PATRICIA JOHNSON-WELCH, is a

       named party Defendant to this action because she is the record owner and original obligor under the

       Note secured by the Mortgage, which was assigned as provided for hereinabove.

              22.     That defendant, TARANI JOHNSON, is a named party Defendant to this action because

       she is the record owner by virtue of a deed recorded on October 31, 2017 in CRFN 2017000403222.

              23.     That defendant, NEW YORK CITY ENVIRONMENTAL CONTROL BOARD, is a

       named party defendant to this action because it is a subordinate lienor by virtue of numerous New York

       City Environmental Control Board Liens against names similar to the aforementioned record owner,

       obligor or mortgagee recited hereinabove as referenced in the printouts, attached hereto as Exhibit I.

              24.     That defendant, NEW YORK CITY TRANSIT ADJUDICATION BUREAU, is a named

       party defendant to this action because it is a subordinate lienor by virtue of numerous Transit

       Adjudication Bureau Liens against names similar to the aforementioned record owner, obligor or

       mortgagee recited hereinabove as referenced in the printouts, attached hereto as Exhibit I.

              25.     That defendant, NEW YORK CITY PARKING VIOLATIONS BUREAU, is a named

       party defendant to this action because it is a subordinate lienor by virtue of numerous parking

       violations against names similar to the aforementioned record owner, obligor or mortgagee recited

       hereinabove as referenced in the printouts, attached hereto as Exhibit I.

              26.     That defendants “John Doe” and “Jane Doe”, are named party defendants, said names

       being fictitious, it being the intention of Plaintiff to designate any and all occupants, tenants, persons or

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       corporations, if any, having or claiming an interest in or lien upon the Mortgaged Premises being

       foreclosed herein.

              27.     That each of the above named defendants have or claim to have some interest in, or lien

       upon, the Mortgaged Premises or some part thereof, which interest or lien, if any, accrued subsequent

       to the lien of the Plaintiff’s Mortgage and is subject and subordinate thereto.

              28.     That the Plaintiff is now the sole, true and lawful holder of the record of the said Note

       and is the mortgagee of record or has been delegated the authority to institute a mortgage foreclosure

       action by the owner and holder of the subject Note and Mortgage.

              29.     There has been one prior action to collect or enforce the aforementioned default under

       the Note or Mortgage under Index No. 702134-2020. Said action was subsequently discontinued and

       no such proceedings are currently pending.

              30.     The Plaintiff shall not be deemed to have waived, altered, released or changed its

       election herein by reason of any payment after the commencement of this action of any or all of the

       defaults mentioned herein and such election shall continue to be effective.

              31.     That the Mortgage provides that, in the case of foreclosure, the Mortgaged Premises may

       be sold in one parcel and that if the Mortgaged Premises consist of more than one parcel, Plaintiff

       respectfully requests that the Judgment of Foreclosure and Sale provide for the parcels to be sold as

       one parcel.

              32.     The sale of the Mortgaged Premises under foreclosure herein is subject to any state of

       facts that an inspection of the Mortgaged Premises would disclose, any state of facts an accurate survey

       would show, and to covenants, restrictions and easements, if any, of record affecting said Mortgaged

       Premises and any violation thereof, any equity of redemption of the United States to redeem the

       Mortgaged Premises within 120 days from the date of sale, prior mortgages and liens of record, if any,

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       any rights of tenants or persons in possession of the subject Mortgaged Premises, and to zoning

       regulations and ordinances of the city, town, or village in which said Mortgaged Premises lies and any

       violations thereof.

              33.     In the event that the Plaintiff possess any other lien(s) against the Mortgaged Premises

       either by way of judgment, junior mortgage or otherwise, Plaintiff requests that such other lien(s) not

       be merged in Plaintiff’s cause(s) of action set forth herein, but that Plaintiff shall be permitted to

       enforce said other lien(s) and/or seek determination of priority thereof in any independent action(s) or

       proceeding(s), including, without limitation, any surplus money proceedings.

                                  AND AS FOR A SECOND CAUSE OF ACTION

              34.     Plaintiff repeats and realleges each and every allegation contained in paragraphs one (1)

       through thirty-three (33) as though fully set forth herein.

              35.     This action is brought pursuant to Article 15 of the New York State Real Property

       Actions and Proceedings Law.

              36.     That the Mortgage recorded on February 7, 2006 in CRFN 2006000071069, the vesting

       deed recorded on October 31, 2017 in CRFN 2017000403222, and the Loan Modification Agreement

       recorded on September 7, 2017 in CRFN 2017000333563 contain errors in the legal descriptions as

       summarized below.

              37.     That the vesting deed was recorded without a legal description. Additionally, there is a

       discrepancy between the legal descriptions contained in the foreclosing Mortgage/Loan Modification

       Agreement and the prior deed recorded in Reel 1232, Page 673 in that the preamble of the prior deed

       states “…dated June 1884…” whereas the Mortgage/Loan Modification Agreement states “…dated

       June 1834…”. Furthermore, the foreclosing Mortgage and the Loan Modification Agreement contain a



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       scrivener’s error in that the preamble states “9/23/185” where it should state “9/23/1885”. The

       Schedule A herein has been taken from the prior deed.

              38.     In order to accurately reflect the correct legal description, leave is hereby sought to

       reform the legal descriptions of the Mortgage recorded in CRFN 2006000071069, the vesting deed

       recorded in CRFN 2017000403222, and the Loan Modification Agreement recorded in CRFN

       2017000333563 to conform to the legal description as provided for in the attached Schedule A.

              WHEREFORE, Plaintiff demands judgment:

              (a) adjudging and decreeing the amounts due the Plaintiff for principal, interest, costs,

       advancements and reasonable attorney’s fees, if fees were provided for in the said Mortgage;

              (b) that the defendants and all persons claiming by, through and under them, or either or any of

       them, subsequent to the commencement of this action and every other person or corporation whose

       right, title conveyance or encumbrance is subsequent to or subsequently recorded, may be barred and

       forever foreclosed of all right, claim, lien or interest, or equity of redemption in and to said Mortgaged

       Premises;

              (c) that the said Mortgaged Premises, or such part thereof as may be necessary to raise the

       amounts then due for principal, interest, costs, reasonable attorney’s fees, allowances and

       disbursements, together with any monies advanced and paid, may be decreed to be sold according to

       law;

              (d) that out of the monies arising from the sale thereof, the Plaintiff may be paid the amounts

       then due on said Note and Mortgage as herein set forth, with interest upon said amounts from the dates

       of the respective payments and advances thereof, the costs and expenses of this action, additional

       allowance, if any, and reasonable attorney’s fees, if and as provided for in the Mortgage, rider or other

       agreement, so far as the amount of such money is properly applicable thereto will pay the same;


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              (e) that any of the parties to this action may become a purchaser upon such sale;

              (f) that should the Mortgaged Premises be sold by foreclosure sale and the proceeds of said sale

       be insufficient to pay the total debt due plaintiff, the Borrower named hereinabove, unless discharged in

       bankruptcy, may be adjudged to pay the amount of the deficiency;

              (g) that the United States of America shall have the right of redemption, if applicable;

              (h) that the Queens County Clerk be directed to replace the legal description contained in the

       Mortgage recorded in CRFN 2006000071069, the vesting deed recorded in CRFN 2017000403222,

       and the Loan Modification Agreement recorded in CRFN 2017000333563 with the legal description as

       provided for in the attached Schedule A;

              (i) that the Plaintiff may have such other or further relief, or both, in the Mortgaged Premises as

       may be just and equitable.

       Dated: November 30, 2022
       New York, New York

                                                   __________________________________
                                                   Ralph L. Vartolo, Esq.
                                                   FRIEDMAN VARTOLO LLP
                                                   Attorneys for Plaintiff
                                                   1325 Franklin Avenue, Suite 160
                                                   Garden City, New York 11530
                                                   T: (212) 471-5100




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                                                    VERIFICATION

               Ralph L. Vartolo, Esq., an attorney admitted to practice in the courts of New York State, hereby

       affirms under penalty of perjury that:

               I am a partner of the firm of FRIEDMAN VARTOLO LLP the attorneys of record for the

       Plaintiff in the within action.

              I have read the foregoing complaint and know the contents thereof; the same is true to my own

       knowledge except as to the matters therein stated to be alleged on information and belief, and as to

       those matters I believe it to be true.

              The grounds of my beliefs as to all matters not stated on my own knowledge are books and

       records in my possession, conversations with officers or employees of Plaintiff or its agents, and the

       public record.

       Dated: November 30, 2022
       New York, New York

                                                __________________________________
                                                Ralph L. Vartolo, Esq.
                                                FRIEDMAN VARTOLO LLP
                                                Attorneys for Plaintiff
                                                1325 Franklin Avenue, Suite 160
                                                Garden City, New York 11530
                                                T: (212) 471-5100




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                                       SCHEDULE A
                           DESCRIPTION OF MORTGAGED PREMISES




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